                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss the above-entitled matter for lack of prosecution.
On July 7, 2011, the court sent the parties a Journal Entry instructing Plaintiff to file a response to Defendant's Motion to Dismiss Claims Relating to the 2009  2010 Tax Year(s) (Motion) within 14 days of the date of the Journal Entry. The Journal Entry advised that failure to comply with the deadlines set forth therein would result in dismissal of Plaintiff's appeal.
Plaintiff's deadline has passed and the court has not received Plaintiff's response to Defendant's Motion or any further communication from Plaintiff. As a consequence, the court finds this matter should be dismissed for lack of prosecution. Now, therefore,
IT IS THE DECISION OF THIS COURT that this matter is dismissed.
Dated this ___ day of July 2011.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to: Fourth Floor,1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the dateof the Decision or this Decision becomes final and cannot bechanged.
 This document was signed by Presiding Magistrate Jill A.Tanner on July 26, 2011. The Court filed and entered this documenton July 26, 2011. *Page 1 